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    8                      UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
   10                             WESTERN DIVISION
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         STATE OF CALIFORNIA, et al.,             Case No.: CV 19-7390-DMG (AGRx)
   13
                                    Plaintiffs,
   14                                             ORDER RE STIPULATION TO
                     v.                           STAY ACTION PENDING
   15                                             FURTHER PROCEEDINGS IN
         KEVIN K. MCALEENAN, in his official      RELATED CASE [89]
   16    capacity as Acting Secretary of
         Homeland Security, et al.,
   17
                                  Defendants.
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    1        Having considered the parties’ stipulation, IT IS HEREBY ORDERED that:
    2         1. The above-captioned action is STAYED and placed in inactive status;
    3         2. Plaintiffs’ Motion for Preliminary Injunction [Doc. # 32] is held in
    4   abeyance pending further proceedings in the related case, Flores v. Barr, Case No.
    5   CV 85-4544-DMG (AGRx), that may impact the force or scope of the Court’s
    6   September 27, 2019 orders [Doc. ## 688, 690] in that case;
    7         3. This Order is without prejudice to the right of any party to request, at any
    8   time, that the Court reopen this action and lift the stay. If any party or parties wish
    9   to make such a request, the parties shall first meet and confer within three days of
   10   any action giving rise to the request and thereafter file a Joint Status Report to
   11   notify the Court of a proposed course of proceedings including, as appropriate, a
   12   hearing date, a supplementary briefing schedule, or stipulation to continue the stay
   13   or brief whether proceedings should resume; and
   14         4.   The Court’s Order to Show Cause Why this Action Should Not Be
   15   Dismissed as Moot [Doc. # 85] is DISCHARGED.
   16         IT IS SO ORDERED.
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   18   DATED: October 7, 2019               ___________________________________
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                                             DOLLY M. GEE
                                             UNITED STATES DISTRICT JUDGE
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                                          [Proposed] Order re: Stipulation to Stay Preliminary Injunction Motion
                                                                           Case No. 2:19-cv-07390-DMG (AGRx)
